                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                               3:11-CR-00337-RJC-DSC
USA                                               )
                                                  )
   v.                                             )                 ORDER
                                                  )
LEAMON KEISHAN MOSELEY                            )
                                                  )

         THIS MATTER is before the Court upon the government’s Motion to Revoke, (Doc.

No. 251), the Southern District of California magistrate judge’s release order, (Doc. No. 268:

Attachment 2), and the defendant’s Response, (Doc. No. 256). For the reasons stated below, the

Court will STAY the release Order pending review.

         Title 18, United States Code, Section § 3145 provides that when a defendant is ordered

released by an out-of-district judge, the court having original jurisdiction over the offense may

review the release order. Here, the defendant was indicted on June 19, 2013, in this district for

an alleged drug trafficking conspiracy involving at least 1,000 kg of marijuana and a money

laundering conspiracy. (Doc. No. 224: Second Superseding Indictment). After an initial

appearance in the Southern District of California, the defendant was ordered released by a

magistrate judge. The government has now moved for revocation of the release order by this

Court. In the circumstances of this case, the Court finds that an evidentiary hearing is required.

         IT IS, THEREFORE, ORDERED that the magistrate judge’s release order is STAYED

and the defendant is committed to the custody of the Attorney General pending determination of

the government’s motion. The date of the detention hearing will be announced by separate

order.




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       IT IS FURTHER ORDERED that, to the extent practicable, the defendant shall be

confined in a corrections facility separate from persons awaiting or serving sentences or being

held in custody pending appeal. The defendant shall be afforded reasonable opportunity for

private consultation with counsel. On order of a court of the United States or on request of an

attorney for the government, the person in charge of the corrections facility in which the

defendant is confined shall deliver the defendant to a United States marshal for the purpose of an

appearance with a court proceeding.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation office.


                                            Signed: August 21, 2013




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